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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,

v.                                                Case No. 17-cr-232 (EGS)

MICHAEL T. FLYNN,

                              Defendant.



                             MOTION FOR LEAVE TO
                     EXCEED PAGE LIMITS SET BY LOCAL RULE

       On May 13, 2020, the Court issued an order appointing me as amicus curiae “to present

arguments in opposition to the Government’s Motion to Dismiss, ECF No. 198 . . . .” ECF No.

205. The Court further directed me to “address whether the Court should issue an Order to Show

Cause why Mr. Flynn should not be held in criminal contempt for perjury pursuant to 18 U.S.C.

§ 401, Federal Rule of Criminal Procedure 42, the Court’s inherent authority, and any other

applicable statutes, rules, or controlling law.” Id. On May 19, 2020, the Court granted my

request to submit a brief on or before June 10, 2020.

       Under the Court’s Local Rules, absent leave of Court, a brief in a criminal case shall not

exceed 45 pages, see Local Cr. R. 47(e), and “a brief filed by an amicus curiae. . . may not

exceed 25 pages,” see Local Civ. R. 7(o)(4). Because my brief addresses the important and

complex issues raised in the Government’s motion, I request leave to submit a brief not
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exceeding 73 pages. Counsel for Mr. Flynn does not consent to this request. Counsel for the

government does not oppose this request.

Dated: New York, NY
       June 10, 2020




                                                    _______/s/ John Gleeson____________
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                                                    Court-appointed Amicus Curiae




1
    On May 18, 2020, the Court ordered that I be admitted pro hac vice to appear in this matter,
    be conferred full privileges to file and receive papers through the Court’s CM/ECF system
    in this proceeding, and be excused from the local counsel requirement of Local Criminal
    Rule 44.1(c)(1). See Minute Order of May 18, 2020.

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